         Case 1:17-cr-00201-ABJ Document 605 Filed 06/21/19 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )                Crim. Action No. 17-0201-01 (ABJ)
                                    )
PAUL J. MANAFORT, JR.,              )
                                    )
                  Defendant.        )
____________________________________)

                                             ORDER

       On March 13, 2019, the Court issued a sealed order setting a sealed hearing in this

matter to address certain communications dated January 25, 2018 that appeared in Attachments

6 and 7 to Attachment F of the Government’s Sentencing Memorandum in this case. Order

[Dkt. # 550 Sealed]. After rescheduling the hearing at the request of counsel, the Court held a

hearing on the issue on April 2, 2019. See Transcript of Sealed Hr’g. [Dkt. # 584 Sealed].

Following the hearing, on April 25, 2019, the Court ordered the parties to advise the Court of

their positions on whether March 13, 2019 Order, Attachments 6 and 7 to Attachment F to the

Government’s Sentencing Memorandum, and the transcript of the April 2, 2019 hearing may be

unsealed in full or in part. Order [Dkt. # 579 Sealed].

       Upon review of the parties’ responses, Def.’s Responses [Dkt. ## 602, 603 Sealed];

Government’s Response [Dkt. # 587 Sealed], the Clerk of Court is directed to unseal

[Dkt. # 550] the order dated March 13, 2019. The Clerk of Court is further directed to unseal

[Dkt. # 604-1] Attachment 6 to Attachment F to the Government’s Sentencing Memorandum,

which has been redacted for privacy purposes to remove telephone numbers appearing in the

attachment. Further, the court reporter is directed to unseal portions of the April 2, 2019
         Case 1:17-cr-00201-ABJ Document 605 Filed 06/21/19 Page 2 of 2



hearing transcript [Dkt. # 584 Sealed] as set forth in the Court’s order of June 12, 2019 [Dkt.

# 601   Sealed]   (ordering the redaction       of   references   to   attorney-client   privileged

communications and material covered by Rule 6(e) of the Federal Rules of Criminal

Procedure). Finally, the Court finds that Attachment 7 is covered by Federal Rule of Criminal

Procedure Rule 6(e) and relates to ongoing matters, and therefore, it shall remain under seal.

        SO ORDERED.




                                             AMY BERMAN JACKSON
                                             United States District Judge

DATE: June 21, 2019




                                                 2
